Case 1:18-cv-00052-SPW-T.]C Document 9 Filed 04/03/18 Page 1 of 2

IN THE UNITED sTATES DISTRICT coURT F L E D
FOR TH_E DISTRICT 0F MoNTANA
BILLINGS DIVISION APR 0 3 2""*

DAVID and SHELLEY
MACAUSLAND,

Plaintiffs,
vs.

STATE FARM AUTO INSURANCE
COMPANY,

Defendant.

 

STATE FARM MUTUAL
AUTOMOBILE INSURANCE
COMPANY,

Counterclaimant,

VS.

DAVID and SHELLEY
MACAUSLAND,

Counterdefendants.

 

 

Clerk. U S District Court
District Ot Montana
Bil|ings

CV 18-52-BLG-SPW-TJC

ORDER

Upon the parties’ Stipulation for Dismissal filed on April 3, 2018 (Doc. 8),

IT IS HEREBY ORDERED that the Complaint in this action is

DISMISSED WITH PREJUDICE, with each party to bear their own costs and

attorney’s fees.

Case 1:18-cv-00052-SPW-T.]C Document 9 Filed 04/03/18 Page 2 of 2

IT IS FURTHER ORDERED that the Counterclaim in this action is
DISMISSED WITHOUT PREJUDICE, with each party to bear their own costs
and attorney’s fees.

IT IS FURTHER ORDERED that the pretrial conference set for May 15,
2018 at 11:00 a.m. before Magistrate Judge Timothy J. Cavan and all associated
deadlines are VACATED.

DATED this 95: fdday of April, 2018.

/. M%ZQ/
SUSAN P. WATTERS
United States District Judge

